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                         IN THE UNITED STATES DISTRICT COURT                               FEB 1 2 2016
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA                                               面
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                                     ASHEVILLE DIVIS10N

                                    DOCKET NO.1:15CR108

UNITED STATES OF AMERICA,

                       Plaintl鶴
                                                            CONSENT ORDER AND
               V.                                         JUDGMENT OF FORFEITU駆
1)GODIET CORRAL,

                       Defendant.



       WHEREAS, the defendant, GODIET CORRAL, has entered into a plea agreement
(incorporated by ref'erence herein) with the United States and has voluntarily pleaded guilty
pursuant to Fed. R. Crim. P. i I to one or more criminal offenses under which forfeiture may be
ordered;

        WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant's
offense(s) herein; property involved in the otl-enses, or any property traceable to such propefiy;
and/or property used in any manner to facilitate the commission of such off-ense(s); or substitute
property for which under 21 U.S.C. $ 853(p) and Fed. R. Crim. P.32.2(e); and is therefore subject
to lbrfeiture pursuant to 2l U.S.C. $ 853, 18 U.S.C. $ 924(d), and/or 28 U.S.C. $ 2461(c),
provided, however, that such forfeiture is subject to any and all third party claims and interests,
pending final adjudication herein;

        WHEREAS, the defendant herein waives the requirements of Fed. R. Crim. P. 32.2
regarding notice of the tbrfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against defendant;

        WHEREAS, pursuant to Fed. R. Crim. P.32.2(b)(1) & (c)(2), the Court finds that there is
the requisite nexus between the property and the offense(s) to which the defendant has pleaded
guilty and that the defendant has a legal or possessory interest in the properly;

        WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative forfeiture or civil forfeiture proceeding concerning any of the property described
below. If the defendant has not previously submitted such a claim, the defendant hereby waives all
right to do so. If any administrative forfeiture or civil forfbiture proceeding concerning any of the
property described below has previously been stayed, the detbndant hereby consents to a lifting of




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the stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order of this Court No. 3:05MC302-C (September 8, 2005);

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        The following property is fbrfeited to the United States:

        Hi-Point C9,9mm caliber pistol, bearing serial number Pl236862,with ammunition.

        The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

        If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice of this
forfeiture.

       As to any tireanns and/or ammunition listed above and/or in the charging instrument,
defendant consents to disposal by federal, state, or local law enforcement authorities upon such
legal process as they, in their sole discretion, deem to be legally sufficient, and waives any and all
right to further notice of such process or such destruction.

        Any person, other than the defendant. asserting any legal interest in the properly may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

        Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this Order of Fort-eiture, the United
States Attomey's Office is authorized to conduct any discovery needed to identify, locate or
dispose of the property, including depositions, interrogatories, requests for production of
documents and to issue subpoenas, pursuant to Fed. R. Civ. P. 45.

        Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shall be entered, as provided by Fed. R. Crim. P.32.2(c)(2). If no third party files a timely petition,
this order shall become the final order and judgment of forfeiture, as provided by Fed. R. Crim. P.
32.2(c)(2), and the United States shall have clear title to the property and shall dispose of the
property according to law. Pursuant to Fed. R. Crim. P.32.2(b)(4XA), the defendant consents that
this order shall be final as to defendant upon filing.
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SO AGREED:




Assistant United States Attorney


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GODIET CORRAL




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                                    DENNIS L.HOWELL
                                    United States Magistrate Judge
                                    Western District of North Carolina




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